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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

      v.                                                                    ORDER
                                                                         13-CR-83S (6)
JOSE RIVERA,

                           Defendant.

      On April 7, 2020, in response to the worldwide COVID-19 pandemic, Chief Judge

Frank P. Geraci, Jr., issued a General Order appointing the Office of the Federal Public

Defender for the Western District of New York to represent financially-eligible

defendants to determine whether they are eligible for compassionate release under 18

U.S.C. § 3582 (c)(1)(A) and, if so, to file any such motion for compassionate release.

See General Order In Re: Section 603 (B), First Step Act of 2018, issued April 7, 2020.

      On June 15, 2020, Defendant Jose Rivera filed a pro se motion seeking

compassionate release. (Docket No. 672.) Thereafter, the Federal Public Defender’s

Office entered an appearance and filed a supplemental motion seeking appointment as

counsel and compassionate release on Rivera’s behalf. (Docket Nos. 674, 675.)



      IT HEREBY IS ORDERED, that in accordance with the General Order referenced

above, the Federal Public Defender’s Office’s request to be appointed as counsel

(Docket No. 675) is GRANTED.

      FURTHER, that the Clerk of Court is directed to terminate the motion pending at

Docket No. 675.
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      FURTHER, that the government’s time in which to respond to Defendant’s

motion for compassionate release (Docket No. 672) and supplement to that motion

(Docket No. 675) is EXTENDED to June 26, 2020.

      FURTHER, that Defendant must file any reply by June 30, 2020.

      FURTHER, that oral argument, if necessary, will be scheduled by separate order.

      SO ORDERED.

      Dated:       June 18, 2020
                   Buffalo, New York

                                                          s/William M. Skretny
                                                         WILLIAM M. SKRETNY
                                                        United States District Judge
